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                              COMMONWEALTH OF PENNSYLVANIA
                          OFFICE OF ATTORNEY GENERAL
  MICHELLE A. HENRY
   ATTORNEY GENERAL


                                  October 5, 2023

                                                              Criminal Law Division
                                                                     Appeals Section
                                                      1000 Madison Avenue, Suite 310
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                                                                       610-631-6208

Patricia S. Dodszuweit, Clerk
United States Court of Appeals for the Third Circuit
United States Courthouse
601 Market Street
Philadelphia, PA 19106

      RE:    Wharton v. Superintendent, Graterford SCI., et al. - No. 22-9001

Dear Ms. Dodszuweit:

      Oral argument in the above-referenced matter is scheduled for Wednesday,
October 11, 2023. The Court has granted the Office of Attorney General, the amicus
curiae, permission to participate in the oral argument.

       The Clerk’s Office recently advised the Office of Attorney General that the
Court intends to provide Wharton’s counsel (as Appellant) 30 minutes to argue his
case, and counsel for the Philadelphia District Attorney’s Office and the Office of
Attorney General will be provided a total of 30 minutes, traditionally allotted to
appellees, divided 15 minutes for each counsel.

      Given the positions taken by each side in this highly unique matter (in which
the District Attorney’s Office and Wharton are aligned), the Office of Attorney
General respectfully requests that the Court reconsider this distribution of argument
time. Under the current proposed division of time, the arguments in support of
affirmance of the District Court will only be given 15 minutes, compared to the total
of 45 minutes allotted to Wharton’s counsel and counsel for the District Attorney’s
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Office, who are both seeking reversal. Accordingly, the Office of Attorney General
respectfully requests that it be provided a full 30 minutes, or a length of time the
Court deems appropriate that is consistent with that provided to Wharton’s counsel,
to ensure it has a sufficient opportunity to address the Court’s questions. The Office
of Attorney General believes this requested allotment of time would be consistent
with the division of time utilized in other cases in the same posture as this case.



                                       Respectfully submitted,

                                       /s/ Cari L. Mahler
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                                       Senior Deputy Attorney General
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this date I served a copy of the foregoing on the

following persons in the manner indicated below:

                BY ELECTRONIC SERVICE THROUGH ECF

                                  STUART LEV
                             ELIZABETH MCHUGH
                           Assistant Federal Defenders
                        Federal Community Defender Office
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                                             Cari L. Mahler
                                             Senior Deputy Attorney General

Date: October 5, 2023




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